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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In Re:                                           Case No. 15-34864

 Chandra Medlin
  fka Chandra Taylor
  fka Chandra Horton
                                                  Chapter 13
  aka Chandra V. Medlin
  aka C Victoria Medlin
  aka Chandra Victoria Medlin

 Debtor.                                          Hon. Judge A. Benjamin Goldgar

                                CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on August 25,
2020, before the hour of 5:00 p.m.

          Mohammed O Badwan, Debtor’s Counsel
          mbadwan@sulaimanlaw.com

          Glenn B Stearns, Trustee
          mcguckin_m@lisle13.com

          Patrick S Layng, U.S. Trustee
          USTPRegion11.ES.ECF@usdoj.gov

          Chandra Medlin, Debtor
          4460 Longmeadow Drive
          Gurnee, IL 60031
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Dated: August 25, 2020                     Respectfully Submitted,

                                           /s/ Molly Slutsky Simons
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                                           Sottile & Barile, Attorneys at Law
                                           394 Wards Corner Road, Suite 180
                                           Loveland, OH 45140
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